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                                                                                            E-FILED
                                                           Friday, 14 November, 2014 08:26:14 AM
                                                                      Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
              Plaintiff,                  )
                                          )
       vs.                                )      Case No. 14-CR-20063
                                          )
GEORGE LUIS SALINAS,                      )
                                          )
              Defendant.                  )

               INFORMATION CONCERNING PRIOR CONVICTION

       Pursuant to 21 U.S.C. § 851, the United States of America, by James A. Lewis,

United States Attorney for the Central District of Illinois, and Eugene L. Miller,

Assistant United States Attorney, respectfully notifies the Court that it intends to rely

on the following prior conviction of the defendant as a basis for an increased

punishment in this case:

                                    Date of
        Offense                    Conviction    Docket No.          Jurisdiction

Possession of More than            04/24/2007 2001 CR 589 Southern District of Texas
100 Kilograms of Marijuana                                McAllen Division
With the Intent to Distribute It

       With a prior conviction for a final felony drug offense, pursuant to 21 U.S.C.

§ 841(b)(1)(A)(viii), upon a conviction of Count 1 of the Indictment, the defendant shall

be sentenced to a term of imprisonment that may not be less than 20 years and not more

than life imprisonment, a fine not to exceed $20,000,000, a term of supervised release of

at least 10 years in addition to such term of imprisonment, and a mandatory $100

special assessment.
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       Pursuant to 21 U.S.C. § 851(b), any challenge to a prior conviction that is not

made before sentence is imposed may not thereafter be raised to attack the sentence.

Pursuant to 21 U.S.C. § 851(c), if the defendant denies any allegation of this information

of prior conviction or claims that any conviction alleged is invalid, he should file a

written response to the information.



                                          Respectfully submitted,

                                          JAMES A. LEWIS
                                          UNITED STATES ATTORNEY

                                          s/Eugene L. Miller
                                          Eugene L. Miller, Bar No. IL 6209521
                                          Assistant United States Attorney
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 14, 2014, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to the following:

                            Elisabeth R. Pollock, Esq.
                            Assistant Federal Public Defender
                            Federal Public Defender's Office
                            300 West Main Street
                            Urbana, Illinois 61801


                                          s/ Eugene L. Miller
                                          Eugene L. Miller, Bar No. IL 6209521
                                          Assistant United States Attorney
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